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                                                                  2                                   UNITED STATES DISTRICT COURT

                                                                  3                                  NORTHERN DISTRICT OF CALIFORNIA

                                                                  4                                         SAN JOSE DIVISION

                                                                  5
                                                                        DANIEL HIGHTOWER, et al.,
                                                                  6                                                        Case No. 5:20-cv-03639 EJD
                                                                                       Plaintiffs,
                                                                  7                                                        SCHEDULING ORDER
                                                                                v.
                                                                  8
                                                                        CELESTRON ACQUISITION, LLC, et al.,
                                                                  9
                                                                                       Defendants.
                                                                 10

                                                                 11          The parties’ initial Rule 26(f) Case Management Conference was held on September 3,
United States District Court




                                                                 12   2020. See Dkt. No. 80. The parties have since engaged in multiple Rule 26(f) conferences, and
                               Northern District of California




                                                                 13   the Court has granted the parties’ various stipulations regarding case management and discovery

                                                                 14   timelines. On May 18, 2021, the Court entered a Stipulated Order Regarding Discovery Plan. See

                                                                 15   Dkt. No. 174. On October 27, 2021, the Court granted the parties’ Stipulation Regarding

                                                                 16   Document Production Schedule, which provided that the parties shall substantially complete

                                                                 17   document production by February 15, 2022. See Dkt. No. 220. The Court finds it appropriate and

                                                                 18   practicable to issue a Scheduling Order in this action. Fed. R. Civ. P. 1, 16(b)(2). Accordingly, it

                                                                 19   is ORDERED that the following schedule shall apply to this case:

                                                                 20     EVENT                                                      DEADLINE
                                                                 21     Deadline to Amend the Pleadings                            December 5, 2022
                                                                 22     Status Conference                                          10:00 a.m. on March 2, 2023

                                                                 23     Status Conference                                          10:00 a.m. on June 1, 2023

                                                                 24     Fact Discovery Cutoff                                      July 17, 2023
                                                                 25     Deadline to Serve Expert Reports on All Issues on          August 28, 2023
                                                                        which a Party has the Burden of Proof
                                                                 26
                                                                        Deadline to Serve Opposing Expert Reports                  October 9, 2023
                                                                 27

                                                                 28                                                    1
                                                                      Case No.: 5:20-cv-03639-EJD
                                                                      SCHEDULING ORDER
                                                                          Case 5:20-cv-03639-EJD Document 276 Filed 09/30/22 Page 2 of 2




                                                                  1       Deadline for Rebuttal Expert Reports                    November 10, 2023

                                                                  2       Expert Discovery Cutoff                                 December 18, 2023

                                                                  3       Motions for Class Certification & Daubert Motions       January 29, 2024

                                                                  4       Oppositions to Motions for Class Certification &        February 26, 2024
                                                                          Daubert Motions
                                                                  5
                                                                          Replies in Support of Motions for Class Certification & March 25, 2024
                                                                  6       Daubert Motions

                                                                  7       Hearing on Class Certification Motion                   9:00 a.m. on June 20, 2024
                                                                  8       Status Conference                                       10:00 a.m. on August 1, 2024
                                                                  9            IT IS FURTHER ORDERED that the parties shall comply with the Standing Order for
                                                                 10   Civil Cases, a copy of which is available from the Clerk of the Court,2 with regard to the timing
                                                                 11   and content of the Joint Trial Setting Conference Statement and all other pretrial submissions.
United States District Court




                                                                 12            IT IS SO ORDERED.
                               Northern District of California




                                                                 13   Dated: September 30, 2022
                                                                 14                                                   _____________________________________
                                                                 15                                                   EDWARD J. DAVILA
                                                                                                                      United States District Judge
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                                                                        A copy of Judge Davila’s Standing Order is also available on the Court’s website at
                                                                 26   www.cand.uscourts.gov by clicking first on the “Judges” button, then on Judge Davila’s name,
                                                                      then on the link for “Judge Davila’s Standing Orders,” and finally on the link for “Standing Order
                                                                 27   for Civil Cases.”

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                                                                      Case No.: 5:20-cv-03639-EJD
                                                                      CASE MANAGEMENT ORDER
